                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI

 MORRIS N. WELLS,                          )
                                           )
               Plaintiff,                  )
                                           )
 v.                                        )   Case No: 4:22-cv-00124
                                           )
 ATLAS VAN LINES, INC.,                    )   Circuit Court of Clay County
 DEDICATED TRANSPORT                       )   Case No. 20CY-CV06971
 SERVICES, INC., and TYRONE V.             )
 WADE,                                     )   JURY TRIAL DEMANDED
                                           )
               Defendants.                 )

                                NOTICE OF REMOVAL

      COME NOW Defendants Atlas Van Lines, Inc. (“Atlas”), Dedicated Transport

Services, Inc. (“Dedicated”), and Tyrone V. Wade (“Wade”) (collectively “Defendants”),

by and through undersigned counsel, and pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,

hereby remove this action to the United States District Court for the Western District of

Missouri. In support of its removal, Defendants states the following:

      1.      On August 27, 2020, Plaintiff Morris N. Wells (“Plaintiff”) filed a Petition

against Defendants in the Circuit Court of Clay County, Missouri, case number 20CY-

CV06971, alleging negligence, negligence per se, vicarious liability, and strict liability

against Defendants following a motor vehicle accident between Plaintiff and Wade.




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       2.      A copy of the entire Clay County Circuit Court file, Case No. 20CY-

CV06971, including a copy of all process, pleadings, orders, and other documents have

been attached hereto as Exhibit A

       3.      Plaintiff is, and at all times material hereto was, an individual and resident

of the State of Missouri. (See Exhibit A, Plaintiff’s Petition, ¶ 1).

       4.      Atlas is, and at all times material hereto was, a corporation incorporated

and existing under the laws of the State of Delaware with its principle place of business

in Evansville, Indiana. (See Exhibit A, Plaintiff’s Petition, ¶ 3). Therefore, Atlas is not,

and was not, a citizen of the State of Missouri.

       5.      Dedicated is, and at all times material hereto was, a corporation

incorporated and existing under the laws of the State of Georgia with its principal place

of business in Kennesaw, Georgia. (See Exhibit A, Plaintiff’s Petition, ¶ 4). Therefore,

Dedicated is not, and was not, a citizen of the State of Missouri.

       6.      Wade is, and at all times material hereto was, a citizen and resident of the

state of Florida. (See Exhibit A, Plaintiff’s Petition ¶ 2).

       7.      Plaintiff seeks to recover an amount of actual damages in excess of

$75,000.00 including punitive damages; therefore, the amount in controversy

requirement of 28 U.S.C. § 1332(a) is satisfied. (See Exhibit A, Plaintiff’s Petition).




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       8.      As complete diversity of citizenship exists between Plaintiff and

Defendants and the amount in controversy requirement of 28 U.S.C. § 1332(a) is satisfied,

removal to this Court is proper pursuant to 28 U.S.C. §§ 1332, 1441, and 1446.

       9.      Atlas was first served with the Summons and Petition on February 1, 2022,

Dedicated was first served with the Summons and Petition on February 16, 2022, and

Wade was first served with the Summons and Petition on February 2, 2022. Therefore,

this Notice of Removal is timely filed within thirty (30) days of that date pursuant to 28

U.S.C. § 1446(b).

       10.     All Defendants consent to the removal of this matter to the United States

District Court, Western District of Missouri.

       11.     Defendants certify that no other filings have been entered in the state court

that have not been attached to Exhibit A, so there are no other filings which need to be

filed separately with the Court.

       12.     Promptly after filing this Notice of Removal, Defendants will give written

notice thereof to Plaintiff and the Circuit Clerk for the Circuit Court of Clay County




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                                       Respectfully submitted,

                                       BROWN & JAMES, P.C.

                                       /s/ Christopher J. Seibold
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                                       Attorney for Defendants

                            CERTIFICATE OF SERVICE

      The undersigned certifies that a copy of the foregoing was mailed, first class,
postage prepaid, and emailed, this 25th day of February 2022, to:

 Mr. Alexander C. Melin
 Mr. Stephen G. Sanders
 Sanders Law
 9800 NW Polo Drive, Suite 100
 Kansas City, MO 64153
 Attorneys for Plaintiff

                                       /s/ Christopher J. Seibold
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